Case 1:19-md-02875-RMB-SAK              Document 1564         Filed 09/17/21   Page 1 of 3 PageID:
                                             34710



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

  IN RE: VALSARTAN, LOSARTAN, AND                     MDL NO. 2875
  IRBESARTAN PRODUCTS LIABILITY
  LITIGATION,                                         HON. ROBERT B. KUGLER

  THIS DOCUMENT RELATES TO:
  Fernando Feijoo, as representative of the
  Estate of Eleonora Deutenberg v.
  Aurobindo Pharma USA, Inc., et. al.


                     NOTICE OF VIDEOTAPED DEPOSITION OF

    FERNANDO FEIJOO, REPRESENTATIVE OF THE ESTATE OF ELEANORA
                           DEUTENBERG

       PLEASE TAKE NOTICE that, in accordance with Rule 30 of the Federal Rules of Civil

Procedure and the Fact Witness Deposition Protocol in this case (Case Management Order No.

20, filed November 17, 2020 – Document 632), Defendants Aurobindo Pharma USA, Inc. and

Aurolife Pharma LLC will take the deposition upon oral examination of Fernando Feijoo, as the

Representative of the Estate of Eleonora Deutenberg, on October 21, 2021 at 9:00 a.m., EDT, and

continuing until completion. Please take further notice that: the deposition will be conducted

remotely, using audio-visual conference technology; the court reporter will report the deposition

from a location separate from the witness; counsel for the parties will be participating from

various, separate locations; the court reporter will administer the oath to the witness remotely;

and the witness will be required to provide government-issued identification satisfactory to the

court reporter, and this identification must be legible on camera. The deposition shall be

videotaped and recorded stenographically, and will continue from day to day until completed

before a person duly authorized to administer oaths who is not counsel of record or interested in

the events of this case. The attorney contact for the deposition is:


                                               1
Case 1:19-md-02875-RMB-SAK     Document 1564      Filed 09/17/21    Page 2 of 3 PageID:
                                    34711


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 Date: September 17, 2021             Respectfully submitted,

                                      s/ Ethan Feldman
                                      Ethan R. Feldman
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                                      Attorney for Defendants
                                      Aurobindo Pharma USA, Inc.,
                                      Aurobindo Pharma Ltd., and
                                      Aurolife Pharma LLC




                                     2
Case 1:19-md-02875-RMB-SAK            Document 1564        Filed 09/17/21      Page 3 of 3 PageID:
                                           34712


                                   CERTIFICATE OF SERVICE



       I hereby certify that on this 17th day of September, 2021, I caused a true and correct

copy of the foregoing Notice of Videotaped Deposition of Fernando Feijoo to be filed with

the Court’s ECF system and served upon counsel of record. I further certify that a copy of the

foregoing was served on Plaintiff’s counsel by e-mail, with a copy served on all parties via

MDL Centrality, on September 17, 2021.

       This 17th day of September, 2021.


                                                   /s/ Ethan R. Feldman
                                                   Ethan R. Feldman
